254 F.2d 604
    NATIONAL LABOR RELATIONS BOARD, Petitioner.v.LOCAL 6, BREWERS AND MALTSTERS, Affiliated withInternational Brotherhood of Teamsters,Chauffeurs, Warehousemen and Helpers ofAmerica, AFL-CIO.
    No. 15953.
    United States Court of Appeals Eighth Circuit.
    Feb. 18, 1958.
    
      Petition for enforcement of order of National Labor Relations Board.
      Thomas J. McDermott, Assoc.  Gen. Counsel, National Labor Relations Board, and Marcel Mallet-Prevost, Asst. Gen. Counsel, National Labor Relations Board, Washington, D.C., for petitioner.
      Wiley, Craig, Armbruster, Schmidt &amp; Wilburn, St. Louis, Mo., for respondent.
      PER CURIAM.
    
    
      1
      Order of National Labor Relations Board enforced, on petition for enforcement and stipulation filed with Board.
    
    